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                       UNITED STATES DISTRICT COURT
                                       FOR THE
                       SOUTHERN DISTRICT OF FLORIDA
                   Case No.          -CIV-[JUDGE Ursula Ungaro]


                                                                  FILED B't      (}::-         D.C.
Micheline Baptiste,
       Plaintiff                                                       APR 22 2019
                                                                         ANGELA E. NOBLE
                                                                        Cl.EHK U S. OIST CT.
                                                                        S.D. OF FLA.- MIAMI

       V.                                      Civil Action No.


C & F Properties LLC, d/b/a
Suncoast Place Apartments,

       Defendant(s)
--------------------------~'

    APPLICATION TO ONE DISTRICT JUDGE FOR OTHER RELIEF

I, Micheline Baptiste, a Plaintiff in case Baptiste v. C & F Properties, LLC and

Defendant in case C & F Properties, LLC v. Baptiste, and states, I'm unable to

seek relief, redress or money for injuries, damages caused to me and that I'm

entitled to this relief requested.

In support of this application, I state the following under penalty of perjury:



   1. I, Micheline Baptiste, a citizen of the United States of America.




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   2. I, Micheline Baptiste, a Plaintiff in Baptiste v. C & F Properties, LLC, case

      no. 2016-5455-CC-23.

   3. I, Micheline Baptiste a Defendant inC & F Properties, LLC v. Baptiste,

      case no. 2014-5457-CC-23.

   4. I, Micheline Baptiste on or about June 19 2013 paid security deposit in the

      amount of $500.00 to Defendant, C & F Properties, LLC d/b/a Suncoast

      Place Apartments.

   5. On or about April21 2014 I, Micheline Baptiste filed an answer,

      counterclaim, motion to determine amount of rent to be paid and motion to

      drop a party.

   6. In the above case(s) I, Micheline Baptiste sought relief, money for injuries

      caused to me.

   7. In case, C & F Properties, LLC v. Baptiste, case no. 2014-5457-CC-23 my

      counterclaim, avoided or not heard. Court or judge entered no decision or

      judgment for my relief sought.

   8. In case, Baptiste v. C & F Properties, LLC, case no. 2016-5455-CC-23,

      dismissed.

   9. I have attached the following documents or information:

         a. Lease information pertaining to security deposit.

         b. Answer and counterclaim


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         c. Motion to determine amount of rent to be paid and motion to drop a

            party.

         d. An order or decision from the County Court in and for Miami Dade

            County, Justice Center, case no. 2016-5455-CC-23.

         e. An order or decision from the County Court in and for Miami Dade

            County, Justice Center case no. 2014-5457-CC-23.

By my signature, I declare under penalty of perjury that the above information is

true to the best of my knowledge.




                                      Plaintiff/Party

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                                      Printed Name

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